                            Case 5:05-cr-00516-EJD       Document 47       Filed 07/13/06       Page 1 of 2



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               6       Attorneys for Defendant
                       Emily Trevethan
               7

               8                                     UNITED STATES DISTRICT COURT

               9                                  NORTHERN DISTRICT OF CALIFORNIA

             10                                              SAN JOSE DIVISION

             11        UNITED STATES OF AMERICA,                           Case No. CR 05-00516-JF
             12                      Plaintiff,                            STIPULATION AND ORDER RE-
                                                                           SCHEDULING SENTENCING
             13               v.                                           HEARING
             14        EMILY TREVETHAN, et al.,
             15                      Defendant.
             16

             17               IT IS HEREBY STIPULATED between the parties and based upon such stipulation it is

             18        hereby ordered, that the defendant’s sentencing hearing, currently scheduled for Wednesday,

             19        //

             20        //

             21        //

             22        //

             23        //

             24        //

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Baker & McKenzie LLP
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   660 Hansen Way                                                                                   Case No CR 03-20110-RMW
 Palo Alto, CA 94304                                              STIPULATION AND ORDER RE-SCHEDULING SENTENCING HEARING
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                           Case 5:05-cr-00516-EJD             Document 47      Filed 07/13/06     Page 2 of 2



               1       August 2, 2006 at 9:00 a.m. be vacated and a new sentencing hearing date of Wednesday, October

               2       18, 2006 at 9:00 a.m. is hereby set.

               3                It is so stipulated.

               4

               5       Dated: July 11, 2006                                 Respectfully submitted,
               6                                                            BAKER & McKENZIE LLP
               7

               8                                                            By: /s/ Scott H. Frewing
                                                                               Scott H. Frewing
               9                                                               Attorneys for Emily Trevethan
             10

             11        Dated: July 11, 2006
             12
                                                                            By: /s/ John S. Glang
             13                                                                John S. Glang
                                                                               Assistant U.S. Attorney
             14

             15        It is so ORDERED.
             16        Dated:          7/13/06
             17

             18
                                                                            By: __________________________________
             19                                                                 JEREMY FOGEL
                                                                                UNITED STATES DISTRICT JUDGE
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                                                                    STIPULATION AND ORDER RE-SCHEDULING SENTENCING HEARING
